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                          RESCISSION AND RELEASE AGREEMENT
                                                                                                        vA
                This Rescission and Release Agreement          ("Agreement" ), effective as of this 3

day of July, 2014, is made between and among AMERICAN GENERAL LIFE INSURANCE

COMPANY        ("American    General" ), the MICHAEL SASONI 2007-1 INSURANCE                      TRUST

("2007-1 Insurance Trust" ), the MICHAEL SASONI 2007-2 INSURANCE TRUST ("2007-2

Insurance   Trust" ) (collectively,    "the Insurance   Trusts" ), WILMINGTON           SAVINGS FUND

SOCIETY, FSB, as successor in interest to CHRISTIANA BANK 4 TRUST COMPANY,

solely in its capacity    as trustee    of the Insurance    Trusts   ("Insurance     Trustee" ), THE GIII

ACCUMULATION           TRUST ("GIII"), WELLS FARGO BANK, N. A. and WELLS FARGO

DELAWARE TRUST COMPANY, N. A. solely in their capacity as trustees of GIII (together,

the "GIII Trustee" ), HAMILDAK             LIMITED ("Hamildak"),        and DEUTSCHE BANK AG

("Deutsche Bank" ) (each a "Party" and collectively the "Parties" ).
                WHEREAS, American General issued Life Policy UM0044158L insuring the life

of Michael Sasoni in the amount of $10,000, 000.00 and Life Policy UM0044159L insuring                the

life of Michael Sasoni in the amount      of $10,000, 000.00 (collectively, "the Policies" );

                WHEREAS, the 2007-1 Insurance Trust is the owner and beneficiary of Policy

Number UM0044158L and Insurance Trustee is the trustee           of the 2007-1 Insurance Trust;

                WHEREAS, the 2007-2 Insurance Trust is the owner and beneficiary of Policy

Number UM0044159L and Insurance Trustee is the trustee           of the 2007-2 Insurance Trust;

                WHEREAS, GIII is the sole beneficiary of the 2007-1 Insurance Trust and the

2007-2 Insurance Trust, and GIII Trustee is the trustee of GIII;

                WHEREAS, American General initiated a lawsuit in the Circuit Court of the 11'

Judicial Circuit in and for Miami-Dade County, Florida styled American General Life Insurance

Company     v. The Michael Sasoni 2007-1 Insurance          Trust, et al. (the     "FL Lawsuit" ) and the


CONFIDENTIAL                                                                        AGL / BECHTEL 000336
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Insurance      Trustee initiated      a lawsuit     in the United      States District Court for the District        of

Delaware       styled    Michael     Sasoni 2007-1 Insurance           Trust, et al. v. American       General     Life

Insurance Company (the "DE Lawsuit" ) (collectively, "the Lawsuits" );

                   WHEREAS, the FL Lawsuit was previously dismissed without prejudice in favor

of the DE Lawsuit;

                   WHEREAS, the Parties desire to amicably compromise and resolve any and all

disputes,    controversies,        claims   and    actions   between     them     arising   out of, relating     to, or

concerning the Policies and the Lawsuits on the terms and conditions herein provided;

                   NOW, THEREFORE, in consideration                     of the foregoing recitals and the mutual

promises     and covenants         hereinafter    set forth, the exchange         of which the Parties agree       and

acknowledge       are material terms        of this Agreement    and constitute good, valuable,        and sufficient

consideration, the Parties hereby mutually agree as follows:

        1.         Rescission of the Policies: In consideration                 of the releases and other promises

contained herein, the Parties agree that the Policies are rescinded and are void ab initio as though

the Policies had never been issued at all. They understand                  and agree that neither the Insurance

Trusts, nor GIII, nor Hamildak,             nor Deutsche Bank, nor any insured, beneficiary,            owner, trust,

settler, grantor, heir, assignee, beneficiary, member, successor in interest, nor any other person or

entity has ever had and never will have any rights under the Policies, whatsoever,

        2.         ~Pa   ment:     The Parties hereby agree that American tienerat shall make a single

lump sum payment           in the amount         of $2, 175,000 (the "Settlement Payment" ), which payment

shall be made within thirty          (30) days from receipt by American General of this Rescission and

Release Agreement fully executed by the Insurance Trusts, GIII, Hamildak and Deutsche Bank.




CONFIDENTIAL                                                                                 AGL / BECHTEL 000337
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American        General    acknowledges        that it has received        fully executed tax Form W-9s.                Said

payment will be made by wire transfer pursuant to the following instructions;

                                         CITIBANK N. A.
                                         111 WALL STREET
                                         NEW YORK, NY 10005
                                         ABA¹021000089
                                         ACCOUNT   59214353
                                                      ¹




                                         SWIFT CODE: CITIUS33
                                         PROSKAUER ROSE LLP
                                         ATTORNEY TRUST ACCOUNT

American General shall not be obligated to make any further payment to any person or entity

relating to the Policies for any reason.             The Settlement Payment shall be net to the Insurance

Trusts and shall not be subject to any set-off, reduction, deduction, offset, or claims of any kind.

         3.         Release of American General:                 The Insurance Trusts, Insurance Trustee, GIII,

GIII Trustee, Hamildak,             and Deutsche Bank, each for itself and for its grantors,                  beneficiaries,

heirs,   successors,       executors,     administrators,       members,     assigns,    associations,    firms,      parent

companies,       affiliates,   subsidiaries,     and current      and former     officers, directors,         shareholders,

employees,       attorneys,     agents    and brokers,      hereby      forever release and discharge             American

General,      and any and all         of its members, associations, firms,              parent    companies,      affiliates,

subsidiaries,     and current       and former officers, directors,         shareholders,        employees,     successors,

assigns, attorneys, agents, and brokers from every and any manner                       of claims, action and actions,

cause and causes          of action, in law or in equity,          known or unknown,             existing or which may

hereinafter     exist, arising out of, relating to or concerning (i) the Policies; (ii) the Lawsuits; (iii)

the application for and/or issuance            of the Policies and/or the sale of any interest in the Policies or

the Insurance Trusts; (iv) the rescission           of the Policies; (v) any and all rights of ownership              and/or


claims for benefits under the Policies; and (vi) the return                of any and all premium monies for the

Policies.        This     release    specifically    includes     all   claims   for attorney's        fees     and    costs.




CONFIDENTIAL                                                                                     AGL / BECHTEL 000338
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Notwithstanding         the foregoing, American General is not released Rom its obligations under this

Agreement.

           4,        Release of the Insurance           Trusts       Insurance   Trustee     GIII GIII Trustee

Hamildak          and Deutsche Bank: American General for itself and for its members, associations,

firms, parent        companies,    affiliates,   subsidiaries,     and current   and former    officers, directors,

shareholders,        employees,    successors, assigns, attorneys,         agents,   and brokers,   hereby     forever

releases and discharges the Insurance Trusts, Insurance Trustee, GIII, GIII Trustee, Hamildak,

and Deutsche Bank, each for themselves                and for their grantors, beneficiaries,    heirs, successors,

executors, administrators,         members,      assigns, associations,     firms, parent companies,         affiliates,

subsidiaries,       and current    and former      officers, directors,     shareholders,   employees,   attorneys,

agents and brokers from every and any manner                of claims, action and actions, cause and causes of

action, in law or in equity, known or unknown,                   existing or which may hereinafter    exist, arising

out of, relating to or concerning (i) the Policies; (ii) the Lawsuits; (iii) the application for and/or

issuance        of the Policies and/or sale of any interest in the Policies or the Insurance Trusts; (iv)

commissions         paid; (v) the rescission     of the Policies; (vi) any and all rights of ownership          and/or

claims for benefits under the Policies; and (vii) the return              of any and all premium monies for the

Policies and/or payment of further premium for the Policies. This release specifically includes

all claims for attorney's         fees and costs. Notwithstanding           the foregoing, the Insurance        Trusts,

Insurance Trustee, GIII, GIII Trustee, Hamildak,                 and Deutsche Bank are not released from their

obligations under this Agreement.




CONFIDENTIAL                                                                                AGL / BECHTEL 000339
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        5.         Warran       of Authori       as to the Insurance Trusts:          The Insurance Trusts and

Insurance Trustee each specifically represent and warrant to American General that:

                   a,       Insurance   Trustee is the duly appointed       trustee    of the Insurance Trusts

pursuant to the governing trust agreements;

                   b.       Insurance Trusts are validly existing under the laws of their jurisdiction           of

organization;

                   c.       The execution, delivery, and performance         of this Agreement        on behalf of

the Insurance Trusts:       (i) are within the power of the Insurance Trusts, the exercise of which by

the Insurance      Trustee is duly authorized;     (ii) have been duly authorized by all necessary trust

action; (iii) do not contravene         any provision     of Insurance Trusts' trust agreements             or the

Insurance      Trusts'   other organizational     documents,    or any law or regulation            applicable   to

Insurance Trusts; and (iv) do not conflict with, violate, create a lien or default under or require a

consent under any document          or agreement to which Insurance Trusts are a party or by which

they are bound;

                   d.       Insurance   Trusts are the sole owners and beneficiaries            of the respective

Policies;

                   e.       Insurance   Trusts   have    the sole and exclusive         right   to exercise any

incidents    of ownership under the Policies and have the sole and exclusive               right to claim death

benefits in the event of Michael Sasoni's death;

                   f.       Insurance   Trusts    have   not   sold,   transferred,     pledged,     alienated   or

otherwise impaired or encumbered          any of their rights as owner or as beneficiary           of the Policies;

and




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                   g.      There are no proceedings in bankruptcy       pending or threatened    against the

Insurance Trusts, no grounds        exist for such a proceeding of which the Insurance Trusts or the

Insurance Trustee is or reasonably         should be aware, nor is any property    of the Insurance   Trusts

subject to any assignment for the benefit of creditors.

         6.       Warran       of Authori         as to Gm: GIII specifically represents and warrants to

American General that:

                   a.      Wells Fargo Bank, N. A. and Wells Fargo Delaware Trust Company, N. A.

are the duly appointed trustees        of GIII pursuant to the governing trust agreement;

                  b.       GIII is validly existing under the laws of its jurisdiction of organization;

                           The execution, delivery, and performance       of this Agreement on behalf of

GIII: (i) are within the power of GIII, the exercise of which by GIII Trustee is duly authorized;

(ii) have been duly authorized by all necessary trust action; (iii) do not contravene any provision

of the governing        trust agreement     or GIII's other organizational    documents,     or any law or

regulation applicable to GIII; and (iv) do not conflict with, violate, create a lien or default under

or require a consent under any document or agreement to which GIII is a party or by which it is

bound;

                  d.       GIII has full and exclusive ownership        of the beneficial interest    in the

Insurance Trusts;

                           Insurance     Trusts have full and exclusive ownership      of the Policies and

each is the sole beneficiary    of the respective Policies;

                           Insurance     Trusts   have   the sole and exclusive    right    to exercise any

incidents     of ownership under the Policies and have the sole and exclusive right to claim death

benefits in the event of Michael Sasoni's death;




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                   g.       GIII has not sold, transferred, pledged, alienated or otherwise impaired or

encumbered       any rights as owner of the beneficial interest in the Insurance Trusts; and

                   h.       There are no proceedings       in bankruptcy     pending    or threatened   against

GIII, no grounds exist for such a proceeding of which GIII or GIII Trustee is or reasonably

should     be aware, nor is any property         of GIII subject to any assignment         for the benefit of

creditors.

           7.      Warran         of Authori        as    to American        General:     American      General

specifically represents and warrants to the other Parties that:

                   a.       American General has not sold transferred, pledged, alienated or otherwise

impaired or encumbered          any interest in the Policies or any matters released by American General

as set forth in Paragraph 4, above;

                   b.       The records   of American     General reflect that Insurance     Trusts have full

and exclusive ownership         of the Policies and are the sole beneficiaries of the respective Policies;

and

                   c.       The execution, delivery, and performance         of this Agreement    on behalf of

American General:       (i) are within the power of American General; (ii) have been duly authorized

by all necessary corporate action; (iii) do not contravene         any provision       of American General' s

organizational     documents,     or any law or regulation applicable to American General; and (iv) do

not conflict with, violate, create a lien or default under or require a consent under any document

or agreement to which American General is a party or by which it is bound.

           S.      Additional Warran         as to American General:          As part of the Rescission and

Release Agreement,       American      General warrants    and represents     to the Parties that it will not

initiate   any tort based claims       against   Steven Wechsler    and/or    Kevin Bechtel (the "Selling




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Agents" ) or anyone else related to commissions                paid under the Policies or for any tort claims

asserted     or which could have been asserted in the Lawsuits,                 American     General, however,

expressly reserves the right to initiate an action to enforce all available              contractual    rights and

remedies it has against the Selling Agents or anyone else related to commissions                    paid under the

Policies.

           9.           Remed      For Breach Of A reement: Each of the Parties understands             and agrees

that each provision         of this Agreement,     including   but not limited to each of the representations

and warranties           set forth in Paragraphs     5, 6, 7 and 8, constitutes        a material    term   of this

Agreement,         In the event of a breach of any material term of this Agreement by one or more of

the Parties, any Party aggrieved            by any such breach may institute        suit in the United States

District Court for the District of Delaware against any Party or Parties alleged to be responsible

for such breach, and may seek recovery             of any and all damages or any other relief arising out of

the breach against the breaching Party or Parties.

           10.          Sti ulated Final Jud ment on Notice:           The Parties agree to file in the DE

Lawsuit a Joint Motion for Entry             of an Order of Stipulated Final Judgment on Notice, barring

claims by all parties, persons, or entities, including            but not limited to Michael Sasoni and his

family, heirs, beneficiaries and assigns, under the Policies. The Parties agree to jointly file such

motion within 3 business days following receipt                of payment referenced     in paragraph    2, above.

Such Final Judgment             shall provide that each party the DE Lawsuit shall bear its own costs and

attorneys'      fees,

           11.          Covenant    Not to Sue American         General;    The Insurance     Trusts, Insurance

Trustee, GIII, GIII Trustee, Hamildak,             and Deutsche Bank, each for itself and for its grantors,

heirs, beneficiaries,       successors, executors, administrators,     members, assigns, associations, firms,




CONFIDENTIAL                                                                             AGL / BECHTEL 000343
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parent      companies,     affiliates,    subsidiaries,     and    current    and   former     officers,    directors,

shareholders,      employees,    attorneys,    agents and brokers covenants         and agrees that it will not at

any time, nor should anyone on its behalf, sue or proceed in any matter at law or in equity, with a

suit or action       of any kind or nature against American                   General   or any of its members,

associations,     firms, parent companies,        affiliates, subsidiaries,    and current and former officers,

directors, shareholders,        employees,     successors, assigns, attorneys,      agents, or brokers for or on

account of any claim for benefits, or any other claim arising out of, relating to or concerning the

Policies,

          12,       Covenant     Not to Sue the Insurance             Trust    Insurance     Trustee       GIII GIII

Trustee      Hamildak      and Deutsche Bank: American General for itself and for its members,

associations,     firms, parent companies,        affiliates, subsidiaries,     and current and former officers,

directors, shareholders,       employees, successors, assigns, attorneys, agents, and brokers covenants

and agrees that it will not at any time, nor should anyone on its behalf, sue or proceed in any

matter at law or in equity, with a suit or action of any kind or nature against the Insurance Trusts,

Insurance       Trustee, GIII, GIII Trustee, Hamildak,            or Deutsche Bank, or any of their grantors,

heirs, beneficiaries,    successors, executors, administrators,          members, assigns, associations, firms,

parent      companies,     affiliates,    subsidiaries,     and    current    and   former     officers,    directors,

shareholders,      employees,     attorneys,    agents    and brokers    for or on account of any claim for

benefits, or any other claim arising out of, relating to or concerning the Policies.

          13.       No Admission:        The Parties understand       and agree that this Agreement         is entered

into solely to settle disputed claims and to avoid further costs in connection with the claims; and

it is not an admission     of any liability, wrongdoing, or misrepresentation              on the part of any Party




CONFIDENTIAL                                                                               AGL / BECHTEL 000344
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 or that any Party performed or failed to perform any act in violation of any law, regulation or the

 rights   of any Party whatsoever, or that the claims asserted in the Lawsuits are valid.

                   ~C«S          i    i:        h        i                k             ted     il h                f hi
 Agreement,      including     the participation      of Hamildak     and Deutsche        Bank, and not to disclose

 them to any third party,            other than to their respective        legal counsel,        internal   and external

 auditors, tax advisors, and local, state or federal government                   authorities   as required to comply

with tax and regulatory reporting and payment obligations,                     If disclosure of this Agreement or its

terms is requested       or required          by court order or judicial subpoena,              the Party from whom

disclosure is requested or ordered will notify the other Parties within two business days of having

actual knowledge thereof, or as soon thereafter as is reasonably practicable,                     Notwithstanding     the

foregoing, in the event a claim is made to collect the death benefits or other benefits under the

Policies or otherwise to enforce the Policies, the Parties may disclose this Agreement in order to

establish rescission     of the Policies. If such a claim for benefits is made upon any Party, it shall

notify the other Parties             within   two business       days or as soon thereafter           as is reasonably

practicable, and all Parties shall use best efforts to maintain the confidentiality                  of this Agreement

by filing under seal or entry of protective order or otherwise.

           15.     Construction         dt Mer      er Clause:    This Agreement         shall not be changed orally

and shall be effective immediately              upon notarized     signature     of all Parties hereto. The Parties

hereto     understand    and     acknowledge         that this Agreement         constitutes    the entire    agreement

between the Parties and that there shall be no amendment                  or modification of any of the terms of

this Rescission and Release Agreement                unless it is reduced to writing and signed by the Parties

hereto. Each Party acknowledges               and agrees that no representations        or promises have been made

to, or relied upon, in connection                with the subject matter          of this Rescission        and Release




 CONFIDENTIAL                                                                                   AGL / BECHTEL 000345
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Agreement         that are not specifically set forth herein.        All prior representations   and promises by

 anyone concerning the Lawsuits or this Rescission and Release Agreement,                   whether in writing or

 oral, are understood         by the Parties to be merged into this Rescission and Release Agreement.

 The language        of all parts of this Agreement       shall be construed as a whole according to its plain

 meaning       and not strictly       construed     for or against   any Party.     The Parties agree that this

 Agreement        shall be deemed to have been jointly drafted for purposes             of applying   any rules    of

 construction.

            16.      ~Si   natures:    This Agreement may be executed in two or more counterparts,               each

 of which shall be deemed an original, but all of which together shall constitute one and the same

 instrument.       However, should any of the Parties fail to execute this Agreement,             this Agreement

 shall be null and void as to all Parties.

            17.      Successors and Assi ns: This Agreement shall bind and inure to the benefit of

 and be enforceable by the Parties and their respective successors and assigns.

            18.      Volunta          A reement      and Ri ht to Counsel:           Each Party represents        and

 warrants      that it is represented       by legal counsel     of its own choice in connection         with this

 Agreement,        or that it was encouraged          to obtain counsel and had ample opportunity          to seek

 counsel.         Each Party represents        and warrants     that he/she/it    has read this —Agreement        and


 understands       the terms used herein.      Each Party has had the opportunity to investigate this matter,

 determine      the advisability      of entering   into this Agreement,   and has entered into this Agreement

 freely and voluntarily,       and that each Party agrees to the terms contained herein.

            19.      Taxation:         Each Party acknowledges         that no other Party       is warranting     or

 representing      any tax consequences        of this Agreement,    that each is relying on its own legal and/or




 CONFIDENTIAL                                                                             AGL / BECHTEL 000346
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 tax advisors,   and that each shall assume       full responsibility    for any and all tax obligations




           22.                                I    fhl     «,
 imposed, due, or owing to local, state or federal authority.

                  ~bii: f                                                 h    h   P       I Ph I h
 of this Agreement, may be held by a court of competent jurisdiction to conflict with any federal,
                                                                                                          hll




 state or local law, and as a result such portion or portions are declared to be invalid and of no

 force or effect in such jurisdiction,   all remaining   provisions     of this Agreement     shall remain in

 full force and effect and be construed as if such invalid portion or portions had not been included

 herein.

           21.    Further Assurances:        Each Party agrees to execute such further and additional




                           I:
 documents, instruments     and writings as are necessary to fully effectuate the terms and provisions

 of this Rescission and Release Agreement.

           2.     G                      2                1112                PI   I   I        PI    « I
 Delaware without giving effect to Delaware choice of law principles.

           23,    Jurisdiction:   The United States District Court for the District of Delaware shall

 retain jurisdiction   over all of the Parties hereto with respect to enforcement          of this Agreement

 and/or any dispute arising under this Agreement.

                  IN WITNESS THEREOF, the Parties have executed this Agreement                        on the

 dates written below.




 CONFIDENTIAL                                                                      AGL / BECHTEL 000347
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                                    MICHAEL SASONI 2007-1 INSURANCE TRUST
                                    by WILMINGTON SAVINGS FUND SOCIETY, FSB as
                                    successor in interest to CHRISTIANA BANK & TRUST
                                    COMPANY, as Trustee




                                    By:
                                    Name:             C"   'r %
                                    Title:           T ]. t



     STATE OF DELAWARE                 )
                                           Ss.
     COUNTY OF NEW CASTLE              )


             Personally appeared the above-named.               .             .     who made oath that
     the execution  of this document is his own free act and deed this   Z day of                2014.




 CONFIDENTIAL                                                                       AGL / BECHTEL 000348
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                                  MICHAEL SASONI 2007-2 INSURANCE TRUST
                                  by WILMINGTON SAVINGS FUND SOCIETY, FSB as
                                  successor in interest to CHRISTIANA BANK Ec TRUST
                                  COMPANY, as Trustee




                                  By:
                                  Name:            Cedric Stroth
                                  Title:           Trust Of5cer




    STATE OF DELA WARE               )
                                         ss.
    COUNTY OF NEW CASTLE             )


            Personally appeared the above-named                                     who made oath that
    the execution of this document is his own free act and deed this   Z   day of                2014.




 CONFIDENTIAL                                                                       AGL / BECHTEL 000349
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                                    THE GIII ACCUMULATION           TRUST

                                    by WELLS FARGO BANK, N. A. , as Managing Trustee




                                    By:
                                   Nam
                                    Title:

                                    and


                                   by WELLS FARGO DELAWARE TRUST COMPANY, N. A. , as
                                   Delaware Trustee




                                    By;
                                   Name,
                                   Title.




     STATE OF DELAWARE                 )
     COUNTY OF NEW CASTLE              }

              Personally appeared the above-named                                        who made oath
     that the execution of this document is his own free act and deed this    4. day o         2014.




                                                          Notary Public
                                                          My Commission expires.
                                                                       LlNDA ANN HILL
                                                                             Notary Pcbtic
                                                                    STATE OF DELAVI'ARE
                                                            Mg CQttlfAISS!otl EXPlfN 04-23 2015




 CONFIDENTIAL                                                                       AGL / BECHTEL 000350
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                                  HAMILDAK LIMITED




                                  By:
                                  Name:        C.K M 5
                                  Title:              m

     STATE OF       g~~            )
                                       ss,
     COUNTY OF      +~~ )
             Personally appeared the above-named   ~~~-~            k~wz         who made oath that
     the execution  of this document is his own free act and deed this 'Z day of    W~       2014.




                                                           Mel Ferguson
                                                           Notary Public
                                                           1 Clare   Street
                                                           Dublin 2
                                                           Cornrnlssionecl    for Life




 CONFIDENTIAL                                                                        AGL / BECHTEL 000351
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                                                    DEUTSCHE BANK AG, LONDON BRANCH




                                                    By;              '. 7~!&
                                                    Name;
                                                    T"Itle:      ' . a "~"-~+~,a -.   r"~:A~~,                                      i+(   ( ~a k„j.I
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                                                                                                               I            MQ I 4 rp
                                                                                      '    +'~"'~'                 '    '
                                                                                                                                  who made oath that
                            Personally   appeared
                                                      ,   &HI!   l
                                                    thegbove-named



                                                                                                                                   C~

                                                                                          Notary Public
                                                                                          My Commission                expires,   'w
                                                                                                       NOTARY PUBLIC
                                                                                                      LgNDGN. , FNGLIa ND
                                                                                                         FMMA NQGH
                                                                                                 tIh)~g   6".rnIIIl:.&k@ e~gtmo v4h l.ife)




 CONFIDENTIAL                                                                                                                      AGL / BECHTEL 000352
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                                                     APOSTILLE
                                      (Convention de La Haye du 5 octobre 1961)

                                  United Kingdom of Great Britain and Northern                    Ireland

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     6. at                        London                 8. the             03 July 20'l4
         4/en                                                   le/el dia

     7. by                      Her Majesty's Principal Secretary of State for Foreign and
         par / por                               Commonwealth Affairs
     8. Number                                           K'l 29648
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                                        Ss.
    COUNTY Ol'                      )


          Personally   appeared   the above-named                                  who made Oatll that




                                                    Notary P lll3 lie
                                                    My Commission       expires;




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